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 5   Attorney for:
     Daniel Rios
 6
                                    UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
      UNITED STATES OF AMERICA,                       No. 1:16-CR-00096-LJO-SKO
10
                        Plaintiff
11
      DANIEL RIOS,
12
                        Defendants.
13
                                                      STIPULATION AND PROPOSED ORDER
14                                                    FOR AMENDED BRIEFING SCHEDULE
15

16
     TO: THE CLERK OF THE UNITED STATES DISTRICT COURT; HONORABLE DALE A.
17   DROZD, UNITED STATES DISTRICT COURT JUDGE; AND JESSICA MASSEY,
     ASSISTANT UNITED STATES ATTORNEY:
18

19          COMES NOW Defendant, DANIEL RIOS, by and through his attorney of record,

20   EMILY DELEON, hereby submitting the following proposed order for an amended briefing

21   schedule regarding the Defendant’s request for Compassionate Release. Defense counsel has not

22   yet received the signed authorization from Mr. Daniel Rios to request medical records from the

23   BOP and has not received necessary information regarding Mr. Rios’ proposed release plan.

24   Defense counsel needs to conduct further investigation and research in order to adequately

25   represent Mr. Rios in this motion.

26          Previously, Defense Counsel had an attorney/client call scheduled with Mr. Daniel Rios

27   on July 2, 2020. Mr. Daniel Rios was not brought to that phone call. Instead, a different inmate

28   with the last name of Rios was placed on the call. This has created confusion as to what should
                                                      1
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 1   be filed on behalf of Mr. Daniel Rios and has delayed both the defense and government in motion

 2   preparation. The Mr. Rios who was incorrectly placed on the call had indicated he was being

 3   released and did not want to proceed with the Compassionate Release Motion. Mr. Daniel Rios,

 4   though, does want to proceed with the motion. As such, the parties need additional time to

 5   prepare filings.

 6
     IT IS SO STIPULATED.
 7                                                              Respectfully Submitted,
     DATED: 07/17/20                                            /s/ Emily Deleon______
 8                                                              EMILY DELON
                                                                Attorney for Defendant
 9
                                                                Daniel Rios
10

11   DATED: 07/17/20                                            /s/Jessica Massey____
                                                                JESSICA MASSEY
12                                                              Assistant U.S. Attorney
13

14

15                                              ORDER
16

17
            IT IS SO ORDERED that the BRIEFING SCHEDULE is as follows:
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19
            Defendant’s/Movant’s Supplemental Opening Brief August 14, 20220
20
21          Government/Respondent’s Opposition Brief Due August 28, 2020

22          Defendant’s/Movant’s Reply (if any) Due September 2, 2020
23
     IT IS SO ORDERED.
24

25      Dated:     July 17, 2020
                                                      UNITED STATES DISTRICT JUDGE
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